18-22417-shl      Doc 28    Filed 03/25/19    Entered 03/25/19 15:38:56       Main Document
                                             Pg 1 of 5




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE:

ABRAHAM MEISELS,                                         CHAPTER 13

                                                         CASE NO. 18-22417 (RDD)
                       DEBTOR.




                           STIPULATION AND CONSENT ORDER



         Whereas, on September 4, 2018, Abraham Meisels (the “Debtor”) filed a Motion to

Reclassify Claims against Nationstar Mortgage LLC d/b/a Mr. Cooper (“Nationstar”), holder of

a subordinate mortgage on the real property located at and commonly known as 48 North Cole

Avenue, Spring Valley, NY 10977 (the “Property”) pursuant to 11 U.S.C. §§ 502(b)(1), 506(a)

506(d) and 1322(b)(2).

         Whereas, Nationstar is the holder of a mortgage, dated August 31, 2007, in the original

principal amount of $361,000,000 to Mortgage Electronic Registration Systems, Inc. as nominee

for EverBank (the “Mortgage”); and

         Whereas, the Debtor attached a valuation to the Motion indicating a value of the

Property of $215,000.00; and

         Whereas, on November 7, 2018, Nationstar filed opposition to the Motion, challenging

the Debtor’s valuation, and requesting an opportunity to complete a full appraisal; and




                                                1
18-22417-shl          Doc 28   Filed 03/25/19    Entered 03/25/19 15:38:56    Main Document
                                                Pg 2 of 5




        Whereas, after negotiation between the parties, the parties stipulate and agree that

Nationstar will have a secured claim in the amount of $290,000.00, which is to be paid in a lump

sum within 30 days of the entry of this Stipulation; and

        Whereas, the Debtor and Nationstar desire to resolve this matter without further hearing;

and

        Whereas, the Debtor and Nationstar seek to avoid the necessity of an evidentiary hearing

with respect to the value of the Property;

NOW, it is hereby:



        ORDERED that the Debtor is directed to make a lump-sum payment of $290,000.00 in

certified funds to Nationstar within 30 days of the entry of this Stipulation and Consent Order

(the “Lump Sum Payment”) to the following address:

Nationstar Mortgage, LLC.
P.O. Box 619094
Dallas, TX 75261

; and it is further

        ORDERED that Nationstar accepts the timely Lump Sum Payment in full satisfaction of

the Mortgage; and it is further



        ORDERED that the Motion is deemed settled; and it is further



                                                  2
18-22417-shl        Doc 28   Filed 03/25/19    Entered 03/25/19 15:38:56      Main Document
                                              Pg 3 of 5




        ORDERED in the event the Property is sold prior to the receipt of the Lump Sum

Payment, Nationstar is entitled to payment of the full amount of Nationstar’s mortgage balance;

and it is further



        ORDERED in the event the Property destroyed or damaged prior to the receipt of the

Lump Sum Payment, pursuant to the Mortgage, Nationstar is entitled to its full rights as a loss

payee with respect to the insurance proceeds and has a security interest in such proceeds up to

the entire balance due on the Mortgage; and it is further



        ORDERED that if the Debtor defaults on the terms of the instant Stipulation and Order,

Nationstar may file a notice of default on the docket, and serve the same on the Debtor and

Debtor’s counsel. If a notice of default is filed by Nationstar, $500.00 shall be added to the

Lump Sum Payment in order to cure the default and comply with the terms of the instant

Stipulation and Order. If the default is not cured within 30 days, Nationstar may submit an ex-

parte order restoring the Nationstar Mortgage to the original terms pursuant to the note and

mortgage and lifting the automatic stay.



        ORDERED that upon the successful completion of the payment contemplated in this

Stipulation and Consent Order, Nationstar shall prepare a satisfaction of the Nationstar Mortgage

and send it for recording within 60 days; and it is further

                                                  3
18-22417-shl     Doc 28     Filed 03/25/19     Entered 03/25/19 15:38:56         Main Document
                                              Pg 4 of 5




       ORDERED that once it has been so ordered by the Court, this Stipulation and Consent

Order is not vacated by the dismissal of the instant bankruptcy; and it is further



       ORDERED that all parties shall bear their own costs in connection with the Motion.

Acknowledged and Agreed:




/s/ Alexandros E. Tsionis                             Dated: 3/22/2019
By: Alexandros E. Tsionis, Esq.
Robert W. Griswold, Esq
Attorney for Nationstar Mortgage LLC
d/b/a Mr. Cooper



/s/ Allen A. Kolber                                   Dated: 3/11/2019
By: Allen A. Kolber, Esq.
Attorney for Debtor




/s/ Abraham Meisels
By: Abraham Meisels
Debtor
                                                      It is SO ORDERED


                                                      /s/ Robert D. Drain         _
                                                      United States Bankruptcy Judge
                                                 4
18-22417-shl   Doc 28   Filed 03/25/19    Entered 03/25/19 15:38:56   Main Document
                                         Pg 5 of 5




                                               Dated: March 22, 2019
                                                      White Plains, New York




                                           5
